Case 0:23-cv-60600-RAR Document 40 Entered on FLSD Docket 06/21/2023 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 23-cv-60600-Ruiz/Strauss

  ALLEN LYNN ROCHE,
  and MOHAN RAM,

          Plaintiffs,

  v.

  DEVON GROUP OF SOUTH FLORIDA LLC,
  TATE TRANSPORT CORPORATION,
  DEVON LOGISTICS LLC,
  BRUCE DEVON, and
  TINA EISENHOWER,

        Defendants.
  ______________________________________/

          UNOPPOSED MOTION TO CONTINUE SETTLEMENT CONFERENCE

          Plaintiffs, ALLEN LYNN ROCHE and and MOHAN RAM, through the undersigned

  counsel and pursuant to the Court’s Order Setting Settlement Conference via Zoom [ECF No. 32]

  and Paperless Order Rescheduling Date of Settlement Conference [ECF No. 39] (“Order”),

  respectfully request the Court continue the Parties’ July 14, 2023 Settlement Conference and in

  support Plaintiffs state:

  1.      On June 7, 2023, the Court entered its Order rescheduling the Settlement Conference to

  July 14, 2023.

  2.      On July 14, 2023, I will be outside the U.S. on a preplanned trip and do not believe I will

  have access during the day on that date.

  3.      The Parties have conferred and confirmed August 2, 2023 as an available date to reset the

  Settlement Conference.
Case 0:23-cv-60600-RAR Document 40 Entered on FLSD Docket 06/21/2023 Page 2 of 2




  4.     If the Court is unavailable on August 2, 2023, then Plaintiffs respectfully request the Court

  cancel the July 14, 2023 Settlement Conference and permit the Parties to confer and provide

  alternative dates for the Settlement Conference.

         WHEREFORE, Plaintiffs respectfully request the Court continue the Settlement

  Conference to August 2, 2023 or permit the Parties to propose other altnerative dates on which to

  reset the Settlement Conference.

  Filed on this: Wednesday, June 21, 2023.

                                               Respectfully submitted,

                                               Koz Law, P.A.
                                               800 East Cypress Creek Road, Suite 421
                                               Fort Lauderdale, Florida 33334
                                               Tel: (786) 924-9929
                                               Fax: (786) 358-6071
                                               Email: ekoz@kozlawfirm.com




                                               Elliot Kozolchyk, Esq.
                                               Florida Bar No. 74791

                                CERTIFICATE OF CONFERRAL

         I HEREBY CERTIFY that I conferred with opposing counsel and Defendnats do not
  oppose the relief sought herein.




                                               Elliot Kozolchyk, Esq.
